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                           Exhibit B
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   January 30, 2020
   BY FEDERAL EXPRESS
   Honorable Marianne O. Battani
   United States District Judge
   United States District Court for the Eastern District of Michigan
   Theodore Levin U.S. Courthouse
   231 W. Lafayette Blvd., Room 252
   Detroit, MI 48226
                          In re Automotive Parts Antitrust Litigation, End‐Payor Actions
                                      Master File No. 12‐md‐02311 (E.D. Mich.)
   Dear Judge Battani:
              FRS respectfully submits this reply letter in further support of its request that, as set forth in its
   December 13, 2019 letter (the “FRS Letter”), the Court order that Auto Insurers are subrogees of Total
   Loss Insureds, and, therefore, may recover from the EP Settlements to the extent of the indemnity
   payments they made for Total Loss Vehicles. 1 Auto Insurers present a textbook example for the
   application of the equitable subrogation doctrine: It is irrefutable that they paid to Total Loss Insureds the
   Antitrust Losses that Defendants are compensating through the EP Settlements. And to deny equitable
   subrogation would, contrary to the sine qua non of the doctrine, undeniably result in a double payment



   1
     Terms with initial capitalization not specifically defined in this letter shall have the meaning provided for
   such terms in the FRS Letter (cited herein as “Ltr.”). Prior to FRS submitting the FRS Letter, EPPs advised
   FRS that any proofs of claim that FRS submitted on behalf of Auto Insurers would be rejected to the extent
   that they included Total Loss Vehicles. Auto Insurers, by and through the FRS Letter, properly objected to
   that rejection. Just as nonnamed class members have the right to object to the terms of a settlement, see,
   e.g., Devlin v. Scardelletti, 536 U.S. 1, 8 (2002) (“Petitioner objected to the settlement at the District
   Court’s fairness hearing, as nonnamed parties have been consistently allowed to do under the Federal
   Rules of Civil Procedure.”), so, too, claimants to a class action settlement fund have the right to object to
   the rejection of their claims, see, e.g., In re Diet Drugs, MDL No. 1203, 2013 WL 2351054, at *1 (E.D. Pa.
   May 29, 2013) (class members may appeal rejected claims). And as with a nonnamed class member’s right
   to appeal without intervention, see Devlin, 536 U.S. at 14 (“[N]onnamed class members like petitioner
   who have objected in a timely manner … have the power to bring an appeal without first intervening.”),
   class members whose objections to the rejection of their claims are not favorably resolved have the right,
   without intervention, to have the Court resolve them, see, e.g., Skeen v. BMW of No. Am., LLC, Civ.
   No. 2:13‐cv‐1531, 2016 WL 4033969, at *13 (D.N.J. July 26, 2016) (“Class members whose claims are
   denied by the Settlement Administrator … may appeal the decision to a Special Master, giving them some
   recourse for unreasonable denials.”). Unless otherwise indicated, emphasis herein is added.



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   to Total Loss Insureds.2 EPPs, in their attempt to avoid equitable subrogation, deliberately confuse or
   appear not to understand that doctrine’s basic premises or the difference between an insurer pursuing
   its own claims and, as a subrogee, pursuing the claims of its insureds, and thus present arguments that
   are designed to obfuscate what is a very simple analysis. EPPs strawmen and non sequiturs, which are as
   irrelevant as they are facially appealing, contradict this Court’s holdings in GEICO,3 as well as almost two
   centuries of judicial precedent from hundreds if not thousands of courts throughout the U.S.4
             Each of EPPs arguments and FRS’s corresponding responses is presented in the table below.

                       EPP Response                                       Auto Insurer Reply

       “Auto Insurers, in their capacity as subrogees, EPPs erroneously argue as if Auto Insurers, as did
       have no rights as class members” and must, but GEICO, are pursuing their own claims. But Auto
       do not, have antitrust standing. EPP 3‐4.       Insurers are not pursuing their own claims; they are
                                                       invoking subrogation. Ltr. 1‐2 & n.3. 5 Accordingly,
                                                       Auto Insurers’ right to recover from the EP
                                                       Settlements does not consider, let alone rely upon,
                                                       their own status as EP Class Members or whether
                                                       they have antitrust standing. Rather, Auto Insurers
                                                       have the right to recover because they satisfy the
                                                       elements of equitable and contractual subrogation.
                                                            EPPs mistakenly rely on the section of GEICO in
                                                         which the Court, after noting that “GEICO has elected
                                                         to opt out of the settlement classes,” addressed only
                                                         GEICO’s attempt to “pursue its own claims as, in


   2
    EPPs do not address unjust enrichment other than to dismiss the vast precedent cited in the FRS Letter.
   Ltr. 3 & App. B. They do not explain why, if Total Loss Insureds have already received indemnity payments
   that necessarily included Antitrust Losses, and then are allowed also to recover from the EP Settlements
   those same Antitrust Losses, Total Loss Insureds would not be unjustly enriched.
   3
       GEICO Corp. v. Autoliv, Inc., 345 F. Supp.3d 799 (E.D. Mich. 2018) (“GEICO”).
   4
       ECF 2034, Master File No. 12‐md‐02311.
   5
    For example, Auto Insurers’ “theory of harm with respect to Total Loss Payments” is that their indemnity
   payments included Antitrust Losses; it is not that their indemnity payments were “inflated by virtue of
   Defendants’ overcharges for the component parts of the vehicles.” GEICO, 345 F. Supp.3d at 829.
   Accordingly, and unlike GEICO, Auto Insurers (a) do not assert that Antitrust Losses affected the amounts
   of their indemnity payments; and (b) do not assert that “the supra‐competitive prices allegedly charged
   by Defendants somehow pass into the insurance market and produce increased Total Loss Payments.” Id.
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                       EPP Response                                       Auto Insurer Reply

                                                         effect, an indirect purchaser.”6 EPPs ignore entirely
                                                         the separate section of GEICO, a portion of which was
                                                         quoted by Auto Insurers, in which the Court directly
                                                         addressed GEICO’s attempt to invoke subrogation.7
                                                            EPPs also ignore this Court’s ruling in GEICO, as
                                                         well as the centuries‐old and universally‐held
                                                         premise that insurers, as subrogees, “stand in the
                                                         shoes” of their insureds; thus, Auto Insurers’ “rights”
                                                         are the rights of EP Class Members‐turned‐Total Loss
                                                         Insureds. Ltr. 12, n.27 & App. C.
       Even if Auto Insurers stand in the shoes of EP    Though they recite the inarguable principle that a
       Class Members, “it would only make the Auto       subrogee “stands in the shoes” of its subrogor, EPP 7,
       Insurers used vehicle purchasers, who are         EPPs argue, contrary to almost two centuries of
       excluded from the settlement classes.” EPP 7.     jurisprudence,8 the opposite: Auto Insurers may not
       “[A]ll the vehicles for which any indemnity was   recover because, even though their insureds
       provided … would have been used.” EPP 2, n.2.     purchased “new” Eligible Vehicles, they acquired
                                                         “used” Total Loss Vehicles. But “stand in the shoes”
                                                         admits of only one meaning: As this Court held in
                                                         GEICO, subrogees are entitled to all of their


   6
     345 F. Supp.3d at 808. Although EPPs’ reliance on GEICO is misplaced, they are correct that, with respect
   to subrogation, Auto Insurers “stand[] in very similar posture as GEICO.” EPP 4. And as to subrogation,
   Auto Insurers note that, as set forth in the “Stipulation Regarding the GEICO Entities Opting into the
   Settlement Classes …” (submitted Nov. 20, 2019), GEICO “settled their claims against all of [the settling]
   defendants.” While FRS has no information concerning the terms of that settlement, FRS does understand
   (a) that in the over 3 years since commencing its case, GEICO must have devoted substantial effort and
   expense to pursue its subrogation claims for Total Loss Vehicles; (b) that GEICO had been granted leave
   to replead, and did replead, its subrogation claims; and (c) that GEICO’s settlement did not include any
   recovery from Defendants for its fleet vehicles. It would not strain credulity, therefore, for GEICO, which,
   according to S&P Global Market Intelligence (Sep. 16, 2019), is the second largest U.S. writer of auto
   insurance and an indirect wholly‐owned subsidiary of Berkshire Hathaway Inc., which, in 2019, was ranked
   by Fortune as the fourth largest U.S. company by revenue, not to have accepted mere nuisance value.
   7
    See 345 F. Supp.3d at 830‐34 (section entitled “To the Extent That GEICO Seeks to Recover from
   Defendants Under a Theory of Subrogation, … .”) (Ltr. 2‐3).
   8
    See, e.g., Aetna Fire Ins. Co. v. Tyler, 16 Wend. 385, 397 (N.Y. 1836) (Insurers “are in equity entitled to
   all [the insured’s] rights and remedies if they pay the amount of his loss. This principle of equitable
   subrogation or substitution of the underwriters in the place of the assured, is recognized by every writer
   on the subject of insurance, and is constantly acted upon in courts of law as well as in equity; … .”).
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                                                         subrogor’s rights and remedies. Ltr. 6‐7 &n.14. Thus,
                                                         Auto Insurers’ right to recover is that of EP Class
                                                         Members‐turned Total Loss Insureds: Every Total
                                                         Loss Vehicle was an Eligible Vehicle, and, therefore,
                                                         Auto Insurers may recover for it.
       FRS’s “contention” that Auto Insurers’ paid for   EPPs argue, in effect, that 2+2=5. The foundation for
       Antitrust Losses is “baseless. … Indemnity        EPPs’ antitrust claims and the recovery thus far of
       payments in no way compensate insureds for        $1.2 billion in settlements, is that, throughout the
       their ‘entire lost interests,’ let alone          class periods, Antitrust Losses were in the prices of
       compensate insureds for [Antitrust Losses].”      Eligible Vehicles. Ltr. 8. And as EPPs correctly note,
       EPP 9‐10. FRS “fails to explain how indemnity     the only reductions allowed to indemnity payments
       payments for used vehicles could possibly         are for depreciation and wear and tear, EPP 9; EPPs
       compensate class members for [Antitrust           do not argue, nor could they, that any indemnity
       Losses] sustained at the time they purchased      payment was reduced to eliminate Antitrust Losses.
       or leased a new vehicle.” EPP 8 (emphasis         So, if Antitrust Losses were in the prices of Eligible
       original). 9 “FRS has not presented evidence      Vehicles, and if indemnity payments were not
       that the compensation paid to insureds is         reduced to eliminate Antitrust Losses, where did they
       related to [Antitrust Losses].” EPP 14. “[N]one   go?10 Because 2+2=4, not 5, the unavoidable answer
       of the cases cited by FRS … say that total loss   is that Antitrust Losses must have been in Auto
       insureds suffered one loss. None discuss the      Insurers’ indemnity payments. In the same vein, EPPs
       ‘fundamental economics’ of Total Loss             also do not explain how any Total Loss Insured
       Payments. This is not a question of               suffered an economic loss greater than the purchase
       ‘fundamental economics’ at all.” EPP 18.          price of a Total Loss Vehicle.

       Auto Insurers may not recover from the EP         This false flag – subrogation is unavailable because
       Settlements because their insurance policies      the insurance policies do not cover Antitrust Losses –
       did not extend coverage for Antitrust Losses.     permeates EPPs’ response. And because it is based
       EPP 4‐10. “FRS seeks equitable subrogation for    on the accurate statement that the policies do not
       a type of loss that it admits the Auto Insurers   cover Antitrust Losses, it is the most facially


   9
     EPPs make much of the obvious fact that Auto Insurers’ indemnity payments are less than each Eligible
   Vehicle’s purchase price. See, e.g., EPP 9. What EPPs ignore, however, is that, from the time an Eligible
   Vehicle was purchased until it became a Total Loss Vehicle, each EP Class Member derived a benefit from
   it. The value of that benefit is what is considered in arriving at market value. EPPs also do not explain how
   Auto Insurers’ consideration of “physical wear and tear, deterioration and depreciation,” EPP 9, would
   remove from indemnity payments any Antitrust Losses. EPPs’ argument thus proves too much: EP Class
   Members that did not pay at least full MSRP, suffered less than full Antitrust Losses or none at all.
   10
     Cf., e.g., Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 342‐45 (2005) (artificial inflation remains in market
   prices until confirmatory disclosure of the inflation causes the market to correct itself).
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    do not insure against and which the terms of        appealing of EPPs’ strawmen; after all, why would an
    the insurance policies do not contemplate.”         insurer indemnify a loss that its policy did not cover?
    EPP 6. “[H]ad an insured filed a claim against an   While EPPs have facial appeal, they lack substance.
    Auto Insurer to recover overcharges caused by
                                                           As set forth in the FRS Letter, the dispositive
    price‐fixing, FRS does not even remotely
                                                        factor is not “coverage”; rather, and as this Court
    suggest that an Auto Insurer would have paid
                                                        held in GEICO, it is “compensation.” Ltr. 2‐3, 3‐7 &
    (or even considered adjusting or paying) such a
                                                        App. A. Even the cases that EPPs cite stand for this
    claim.” EPP 14. “The question is whether the
                                                        proposition. EPP 15. 11 Accordingly, EPPs’ facially
    “losses” covered by the policies include
                                                        appealing false flag is no more than a non sequitur.
    economic harm due to antitrust injuries. It is
    beyond peradventure that the policies do not           EPPs then pose a similarly appealing but equally
    provide any coverage for antitrust injuries.”       misleading hypothetical. While it is correct that, had
    EPP 18.                                             an insured claimed Antitrust Losses unrelated to a
                                                        Total Loss Vehicle, Auto Insurers would have rejected
                                                        that claim, Auto Insurers are not seeking subrogation
                                                        other than for Total Loss Vehicles. Subrogation is only
                                                        being sought, and is only proper, when Auto Insurers
                                                        have indemnified Antitrust Losses.
                                                           Contrary to the abundance of caselaw cited by
                                                        Auto Insurers, Ltr. 7‐12 & App. A, the only other
                                                        cases EPPs muster either contradict their position or
                                                        are irrelevant to it:
                                                             Shockley v. Harleysville Mut. Ins. Co.: This case
                                                              has already been addressed in detail. Ltr. 9‐
                                                              12. And while EPPs devote much ink to it, they
                                                              ignore its only relevant point: “Had appellee
                                                              [insurer] paid for this [uncovered title‐
                                                              related] loss then it would have had an


   11
     E.g., In re Air Crash Disaster, 86 F.3d 498, 549 (6th Cir. 1996) (Equitable subrogation includes “every
   instance in which one party pays the debt for which another is primarily answerable.”) (quotation
   omitted); In re New England Fish Co., 749 F.2d 1277, 1282 (9th Cir. 1984) (“A right to subrogation exists
   only when the subrogee pays or discharges a debt for which another is primarily liable.”); Livingston v.
   Shelton, 537 P.2d 774, 777 (Wash. 1975) (“Subrogation is allowed only in favor of one who … pays the
   debt of another; … . [I]t is only in cases where the person advancing money to pay the debt of a third
   person … is compelled to pay it to protect his own rights, that a court of equity substitutes him in the
   place of the creditor, … .”) (quotations omitted); Grant Thronton v. Syracuse Sav. Bank, 961 F.2d 1042,
   1048 (2nd Cir. 1992) (affirming dismissal of equitable subrogation claim because plaintiff failed to
   establish it paid a debt for which the defendant was primarily liable).
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                                                                 equitable right or subrogation right. 12 Auto
                                                                 Insurers, because they paid for Antitrust
                                                                 Losses, are entitled to equitable subrogation.
                                                              Int’l Broth. of Teamsters, Local 734 H&W Trust
                                                               Fund v. Philip Morris Inc.: EPPs’ reliance on this
                                                               case is another attempt to cast Auto Insurers’
                                                               subrogation claims as direct ones: “Insurers …
                                                               want to recover directly from tobacco
                                                               producers precisely in order to bypass the
                                                               elements of subrogation actions … By suing
                                                               directly, plaintiffs seek to recover even if none
                                                               of their beneficiaries could prevail … .” The
                                                               only relevant statement in Philip Morris
                                                               contradicts EPPs’ position: “The three
                                                               appellate decisions … hold that insurers may
                                                               recover only to the extent that they can step
                                                               into the shoes of their insureds.”13
                                                              Health Care Serv. Corp. v. Brown & Williamson
                                                               Tobacco Corp.: As explained in the FRS Letter,
                                                               Ltr. 9‐10 n.21, but ignored by EPPs, the
                                                               Seventh Circuit affirmed dismissal solely
                                                               because of pleading deficiencies.” EPP 11. But
                                                               like Philip Morris, the Court notes (as quoted
                                                               by EPPs) that insurers have subrogation
                                                               claims: “Doubtless the Blues are subrogated
                                                               to their insureds’ tort claims.” EPP 11.
                                                              Fireman’s Fund Ins. Co. v. Morse Signal
                                                               Devices: This case, too, was addressed in the
                                                               FRS Letter. Ltr. 9‐10 n.21. EPPs ignore that, in
                                                               Morse but unlike Auto Insurers’ indemnity
                                                               payments, the payments for property damage
                                                               did not include the costs of “higher priced
                                                               alarm service … .”
                                                              Employers’ Liab. Assur. Corp., Ltd., of London,
                                                               England v. Daley: Unlike Auto Insurers’

   12
        Ltr. 11 (quoting 553 A.2d 973, 976 (Pa. Super. Ct. 1988) (2‐1 decision).
   13
        196 F.3d 818, 821 (7th Cir. 1999).
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                                                             indemnity payments, which included
                                                             compensation for the same losses being
                                                             sought via subrogation, the insurer’s
                                                             payments in Daley were, according to statute,
                                                             solely for “medical services and lost time,” not
                                                             the compensation for “personal injury”
                                                             recovered by the firemen.14
    Auto Insurers may not recover because EPPs present yet another facially appealing false flag
    property damage and Antitrust Losses are not that both relies on the obvious – clearly, Antitrust
    the same losses. EPP 14‐20.                  Losses are not the same as property losses – and then
                                                 presents a series of non sequiturs. The issue is not
                                                 whether the losses are the same; rather, and as
                                                 described above and in the FRS Letter, it is whether
                                                 Auto Insurers’ indemnity payments included the
                                                 Antitrust Losses that Defendants compensated via
                                                 the EP Settlements. Ltr 4‐7. And of course, it is
                                                 irrelevant to subrogation that Defendants are not
                                                 primarily liable for any property losses and are not
                                                 joint tortfeasors with those who were.

           For the foregoing reasons and those set forth in the FRS Letter, FRS requests that the
   Court enter an order declaring that Auto Insurers are equitable and contractual subrogees of
   Total Loss Insureds, and, therefore, that Auto Insurers may stand in the shoes of Total Loss
   Insureds to recover from the EP Settlements to the extent of the indemnity payments they made
   for Total Loss Vehicles.

   Respectfully submitted,


   Jeffrey N. Leibell




   14
     51 N..S.2d 567, 569‐70 (N.Y. Sup. Ct. 1944), aff’d, 271 A.D. 662 (N.Y. App. Div. 1947) (4 to 1 decision)
   (“The Bramleys’ tort did not subject them to liability under section 205, nor did the town, by its payment,
   satisfy the Bramleys’ tort liability to the firemen.”), aff’d, 77 N.E.2d 515 (N.Y. 1948).
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